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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF KRISTA
                                     Plaintiffs,           BROWN-LY, EXECUTIVE
18
                                                           DIRECTOR OF THE BRADBURY-
19          v.                                             SULLIVAN LGBT COMMUNITY
                                                           CENTER, IN SUPPORT OF
     DONALD J. TRUMP, in his official capacity as          PLAINTIFF’S COMPLAINT AND
20     President of the United States, et al.              MOTION FOR PRELIMINARY
21                                                         INJUNCTION
                                     Defendants.
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                 DECLARATION OF KRISTA BROWN-LY IN SUPPORT OF PLAINTIFFS’ COMPLAINT
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               I, Krista Brown-ly, hereby state as follows:
 1

 2             1.       I am the Interim Executive Director of Bradbury-Sullivan LGBT Community

 3   Center (“Bradbury-Sullivan” or “the Center”), a nonprofit 501(c)(3) organization based in

 4   Allentown, Pennsylvania. Bradbury-Sullivan was established in 2014 and operates and serves the
 5
     Greater Lehigh Valley region.
 6
               2.       Our mission is to advance the health, well-being, and social equity of LGBTQ+
 7
     individuals through advocacy, health programs, arts and culture events, and community-building
 8
     activities. We provide essential services to thousands of LGBTQ+ individuals each year, with a
 9

10   focus on historically underserved populations, including transgender individuals and people of

11   color.
12             3.       I submit this declaration in support of Plaintiffs’ Complaint and Motion for a
13
     Preliminary Injunction, which seeks to prevent the enforcement of Executive Order No. 14168,
14
     “Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the
15
     Federal Government” (“Gender Order”), issued January 20, 2025; Executive Order No. 14151,
16

17   “Ending Radical and Wasteful Government DEI Programs and Preferencing” (“DEI-1 Order”),

18   issued January 20, 2025; and Executive Order No. 14173, “Ending Illegal Discrimination and

19   Restoring Merit-Based Opportunity” (“DEI-2 Order”), issued January 21, 2025 (collectively, the
20   “Executive Orders”), and related agency directives that seek to enforce these Presidential actions.
21
               4.       These Executive Orders threaten Bradbury-Sullivan’s ability to fulfill its mission,
22
     deliver critical health and community services, and maintain financial stability. If allowed to stand,
23
     the Executive Orders will fundamentally undermine our core operations and the well-being of the
24

25   LGBTQ+ community we serve.

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            5.       Diversity, equity, inclusion, and belonging (“DEIB”) principles are central to
 1

 2   Bradbury-Sullivan’s services and mission. Our programs address systemic barriers to healthcare,

 3   promote cultural competency in service provision, and provide affirming spaces for LGBTQ+

 4   individuals, including transgender people who face heightened disparities in healthcare,
 5
     employment, and social services.
 6
            6.       Transgender individuals are a core constituency of our Center. We provide peer
 7
     support groups, health resources, educational workshops, and advocacy efforts specifically
 8
     tailored to meet the unique challenges they encounter. These services are vital for ensuring that
 9

10   transgender individuals can access affirming care, mental health resources, and social support.

11   Funding and Operational Impact
12          7.       A significant portion of our funding comes from federal sources, including the U.S.
13
     Centers for Disease Control and Prevention (“CDC”), through pass-through contracts with state
14
     and local agencies such as the Pennsylvania Department of Health. Approximately sixty-two
15
     percent (62%) of our budget depends on these funds.
16

17          8.       The continuation of this funding is critical to the sustainability of Bradbury-

18   Sullivan’s health programs and services. Without these financial resources, the organization would

19   be unable to provide the majority of its health-related programs and essential services to the
20   LGBTQ+ community. Executive Orders that restrict or alter the distribution of these funds place
21
     Bradbury-Sullivan’s operational capacity at significant risk, thereby directly impacting our ability
22
     to fulfill our mission and serve the LGBTQ+ community effectively.
23
            9.       It is difficult for us to understand how to implement the DEI-1 and DEI-2 Orders.
24

25   The orders do not define what “DEI” means, nor do they give examples of programs that would

26   be in violation. The boundaries are not defined, even broadly, and it is difficult for us to adjust our

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     programming accordingly. It is unclear whether the targeted work of serving underserved and
 1

 2   disproportionately vulnerable populations would violate this order. We are even unsure if

 3   acknowledging these disparities themselves would be a violation of the orders.

 4          10.     The Gender Order seeks to coerce Bradbury-Sullivan to adopt the government’s
 5
     viewpoint by prohibiting or severely restricting the use of critical terms and concepts essential to
 6
     our mission and work. This forced adherence to the government’s prescribed narrative is not only
 7
     in direct tension with our mission, which demands of us to recognize and serve all members of the
 8
     LGBTQ+ community as who they are, it also makes it impossible for the Center to conduct its
 9

10   training effectively, as the Center cannot openly and accurately discuss the systemic issues at the

11   core of LGBTQ+ health disparities. By imposing these restrictions, the government not only
12   obstructs the CDC-funded program’s goals but also interferes with Bradbury-Sullivan’s ability to
13
     fulfill its contractual obligations and carry out its mission in addressing public health needs.
14
     Impact on Health Programs and Training
15
            11.     The Executive Orders pose a significant threat to our ability to fulfill our mission,
16

17   serve the community, and carry out the essential work for which we receive federal and state

18   funding. These orders directly undermine the purpose of the grants that support Bradbury-

19   Sullivan’s health initiatives and educational programs, restricting the ability to effectively address
20   the health disparities that disproportionately impact LGBTQ+ individuals.
21
            12.     Bradbury-Sullivan plays a key role in addressing LGBTQ+ health disparities
22
     through programs like tobacco cessation initiatives, cancer screening education, and mental health
23
     advocacy. These efforts are supported by federal funding and require training on systemic factors
24

25   contributing to health disparities, including implicit bias and discrimination.

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            13.     Bradbury-Sullivan’s Education Institute provides workshops and training for
 1

 2   schools, businesses, healthcare providers, and other organizations to promote inclusivity and

 3   affirming practices. These trainings are crucial for dismantling bias, combating stigma, and

 4   ensuring structural changes that improve LGBTQ+ experiences across multiple sectors.
 5
            14.     For example, Bradbury-Sullivan has a contract through the Pennsylvania
 6
     Department of Health, funded by the CDC, to address tobacco-use disparities among LGBTQ+
 7
     individuals. As part of this contract, Bradbury-Sullivan provides training to contractors and
 8
     subcontractors of the Pennsylvania Department of Health’s Division of Tobacco Prevention and
 9

10   Control on evidence-based strategies for reducing LGBTQ+ tobacco use disparities in

11   Pennsylvania. A critical component of this training includes an exploration of the systemic factors
12   contributing to health disparities, such as implicit bias, systemic racism, sex stereotyping, and
13
     discrimination based on race, sex, gender, gender identity, and LGBTQ+ status. These discussions
14
     are essential for addressing the root causes of disparities and ensuring that health interventions are
15
     effective and equitable.
16

17          15.     Additionally, Bradbury-Sullivan receives funding from the Pennsylvania Coalition

18   to Advance Respect (PCAR) to provide LGBTQ+ cultural competency training for personnel

19   working with survivors of sexual violence. These trainings are essential in helping service
20   providers understand the unique barriers that LGBTQ+ individuals face when accessing support
21
     services. This work necessarily involves discussions on health disparities related to race, gender,
22
     and sexual orientation, as well as their underlying causes. Without the ability to address these
23
     systemic issues, healthcare professionals and service providers will be unable to create affirming
24

25   and inclusive environments for LGBTQ+ individuals seeking care.

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            16.     Bradbury-Sullivan’s training work can only succeed when we are able to provide
 1

 2   external, data-driven training to community organizations, healthcare providers, and other

 3   stakeholders on how racism and bias impact the communities we serve. Our trainings are grounded

 4   in scientific research and public health data, addressing the historical mistreatment of marginalized
 5
     communities by medical researchers and healthcare providers, as well as the resulting mistrust that
 6
     persists today. We also provide evidence-based education on health disparities related to race, sex,
 7
     and LGBTQ+ status, and how these systemic factors influence interactions between healthcare
 8
     professionals and the communities they serve. These external trainings are essential for equipping
 9

10   organizations with the knowledge and tools needed to deliver culturally competent care and reduce

11   health disparities. We tailor our trainings to meet the specific needs of each audience, ensuring
12   that professionals across sectors are prepared to engage with LGBTQ+ communities in a respectful,
13
     inclusive, and effective manner.
14
            17.     The Executive Orders’ restrictions on “equity-related” grants and the “promotion”
15
     of “gender ideology” directly impede our ability to conduct these trainings effectively. Healthcare
16

17   providers need to respect the identities of transgender patients and offer competent affirming care

18   to LGBTQ+ individuals. Healthcare providers also must combat implicit bias and address medical

19   mistrust among communities of color. Limiting discussions of these subjects not only hampers our
20   training programs but also risks increased health disparities within our community.
21
     Transgender Youth
22
            18.     LGBTQ+ youth face disproportionate risks of mental health challenges, bullying,
23
     and family rejection. Our youth and family programming provide essential support through
24

25   initiatives like Coping and Support Training (“CAST”), implemented in multiple Lehigh Valley

26   school districts, equipping LGBTQ+ youth with emotional regulation and resilience-building skills.

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     In addition, the Center supports parents and caregivers through programs like the Parents of Trans
 1

 2   Kids group and LGBTQ+ family community groups, ensuring that families have the resources and

 3   connections needed to foster a supportive environment.

 4          19.      Our community programs provide peer-led support groups, youth and family
 5
     services, and educational workshops that foster connection and resilience. Transgender individuals
 6
     participate in these groups at significant rates due to the limited availability of affirming spaces
 7
     elsewhere.
 8
            20.      The restrictions imposed by these Executive Orders would force us to close down
 9

10   these programs. By forbidding the acknowledgment of transgender people and restricting

11   discussions on systemic issues that directly impact transgender youth and their families. This
12   forced silence not only harms the communities served but also jeopardizes the effectiveness of
13
     programs designed to improve LGBTQ+ youth outcomes. Additionally, funding partners are
14
     considering withdrawing support due to concerns about compliance with the Executive Orders,
15
     leading to direct financial losses that threaten the availability and sustainability of these vital
16

17   services.

18          21.      The Executive Orders’ restrictions on acknowledging systemic challenges faced by

19   transgender individuals impair our ability to facilitate meaningful conversations in these groups.
20   This limitation hinders the development of coping skills, resilience, and a sense of community
21
     which are key components of our mental health support services.
22
     Impact on Essential Community Services
23
            22.      For many LGBTQ+ individuals, barriers to basic necessities and affirming services
24

25   create significant challenges to health, stability, and well-being. At Bradbury-Sullivan LGBT

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     Community Center, we work to bridge these gaps through essential resource programs that ensure
 1

 2   community members can access the support they need to thrive.

 3          23.     Our Care Cupboard provides free hygiene products, gender-affirming supplies, and

 4   emergency essentials to those facing financial hardship. Many LGBTQ+ individuals, particularly
 5
     transgender and non-binary individuals, face discrimination when attempting to access gender-
 6
     affirming products in traditional retail settings. By offering accessible, affirming support, we
 7
     remove these barriers and ensure that no one in our community is denied the basic items necessary
 8
     for dignity and well-being.
 9

10          24.     Additionally, our resource referral line connects individuals to LGBTQ-affirming

11   healthcare providers, legal services, housing assistance, and mental health support. As a trusted
12   link between the LGBTQ+ community and critical services, we ensure that individuals can seek
13
     support without fear of discrimination or bias. Whether helping someone find a trans-competent
14
     doctor, secure stable housing, or access legal assistance, our referral network is a vital tool for
15
     ensuring that community members receive affirming care and support.
16

17          25.     The Gender Order would severely disrupt these essential services by imposing

18   restrictions that prohibit open acknowledgment of transgender identities and their specific

19   community needs. By labeling discussions of gender identity as “ideology,” the Gender Order
20   undermines the foundation of these programs. The order would obstruct the resource referral line’s
21
     ability to connect community members with affirming healthcare, legal services, and mental health
22
     support by preventing the use of accurate, inclusive language critical to these referrals. Ultimately,
23
     these restrictions would compromise the Center’s mission to meet the basic needs of LGBTQ+
24

25   individuals with dignity, leaving many without access to essential services that support their health,

26   stability, and well-being.

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     Threat to Organizational Survival
 1

 2            26.   The combined effect of the Executive Orders places Bradbury-Sullivan’s core

 3   mission and operational existence at risk. By targeting DEIB initiatives and discussions of gender

 4   identity, these Orders not only reduce the effectiveness of our programs but also jeopardize the
 5
     funding necessary to sustain our operations.
 6
              27.   Many organizations who we provide these services to are already beginning to scale
 7
     back and cancel trainings or services, over concerns about these Orders.
 8
              28.   We face the imminent risk of losing critical funding streams, being forced to scale
 9

10   back essential services, and ultimately failing to meet the urgent health and social needs of the

11   LGBTQ+ community in the Greater Lehigh Valley.
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